Casq|8:16-ap-01114-ES Doc4 Filed 05/26/16 Entered 05/27/16 10:47:24 Desc
ORIGINAL
1 || Kent W. Easter, In Pro Per
153 Baywood Drive
2 || Newport Beach, CA 92660
3 kentweaster@gmail.com FILED
,, || Defendant MAY 26 2016
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8
UNITED STATES BANKRUPTCY COURT
9
<7 CENTRAL DISTRICT OF CALIFORNIA
10
SANTA ANA DIVISION
11
12 |} Inre: Case No.: 8:16-bk-102223-ES
3 Adversary Case No.: 8:16-AP-01114
Kent Wycliffe Easter
14 ANSWER TO PLAINTFFS’
COMPLAINT TO DETERMINE
15 NONDISCHARGEABILITY OF
16 DEBT
"7 Kelli Peters, Bill Peters, Sydnie Peters,
18 Plaintiffs,
19 VS.
Kent W, Easter, dba Kent Easter
20 || Consulting, dba Law Offices of Kent W.
Easter,
a1 Defendants.
22
23
24
25 Defendant Kent W. Easter (“Defendant”) respectfully answers Plaintiffs’
26 |} Complaint to Determine Nondischargeability of Debt and states as follows:
27
28
ANSWER TO PLAINTIFFS’ COMPLAINT TO DETERMINE NONCHARGEABILITY

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1. The allegations in paragraph | of the Complaint set forth a legal
conclusion for which no response is required.

2. The allegations in paragraph 2 of the Complaint set forth a legal
conclusion for which no response is required.

3. Defendant admits the allegations in paragraph 3 of the Complaint.

4. Defendant lacks sufficient information to admit or deny the
allegations of in paragraph 4 of the Complaint.

5. Admitted.

6. Defendant denies the allegations in paragraph 6 of the Complaint.

7. Defendant denies the allegations in paragraph 7 of the Complaint.

8. Admitted

9. Defendant lacks sufficient information to admit or deny the
allegations of in paragraph 9 of the Complaint.

10. Defendant lacks sufficient information to admit or deny the
allegations of in paragraph 10 of the Complaint.

11. Defendant lacks sufficient information to admit or deny the
allegations of in paragraph 11 of the Complaint.

12. Defendant lacks sufficient information to admit or deny the
allegations of in paragraph 12 of the Complaint.

13. Defendant lacks sufficient information to admit or deny the
allegations of in paragraph 13 of the Complaint.

14. Defendant lacks sufficient information to admit or deny the
allegations of in paragraph 14 of the Complaint.

15. Defendant lacks sufficient information to admit or deny the
allegations of in paragraph 15 of the Complaint.

16. Defendant lacks sufficient information to admit or deny the

allegations of in paragraph 16 of the Complaint.

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17. Defendant lacks sufficient information to admit or deny the
allegations of in paragraph 17 of the Complaint.

18. Defendant admits the allegations in the first sentence of paragraph
18 of the Complaint. Defendant denies the allegation in the second sentence of
paragraph 18 of the Complaint that the Irvine police uncovered numerous text
messages between Mr. and Mrs. Easter during the middle of the night and admits
the remainder of the sentence.

19. Admitted.

20. Defendant denies the allegation in paragraph 20 of the Complaint
that there was a drug-planting scheme shared by Mr. and Mrs. Easter and admits
the remainder of the paragraph.

21. Defendant denies the allegation in paragraph 21 of the Complaint
that there was a drug-planting scheme shared by Mr. and Mrs. Easter and admits
the remainder of the paragraph.

22. Admitted

23. Defendant avers that the stipulation in the civil action speaks for
itself and otherwise admits that Mr. and Mrs. Easter admitted liability to the

causes of action and disputed the damages.

24. Admitted.
25. Admitted.
26. Admitted.
27. Admitted.
28. Admitted.
29. Admitted.
30. Admitted.

31. Defendant incorporates his responses to paragraphs 1 through 30 in

response to the allegations in paragraph 31.

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ANSWER TO COMPLAINT TO DETERMINE NONDISCHARGEABITLIY

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32. The allegations in paragraph 32 of the Complaint set forth a legal
conclusion for which no response is required.
33. Admitted
34. Defendant avers that the Judgment is in error as a matter of law and
excessive and has filed a motion for a partial JNOV and for a new trial set for
hearing on June 2, 2016.
FIRST AFFIRMATIVE DEFENSE

The Complaint fails to state a claim upon which relief may be granted
because the Judgment in the Peters v. Easter civil action has not been fully and
finally adjudicated.

SECOND AFFIRMATIVE DEFENSE

This action is premature and not yet ripe for determination because the
Judgment in the Peters v. Easter civil action has not been fully and finally
adjudicated.

THIRD AFFIRMATIVE DEFENSE

Defendant reserves the right to assert additional defenses based upon
further investigation or discovery.

WHEREFORE, for the foregoing reasons, Defendant respectfully requests
that this Court either stay this action until there has been a full and final
adjudication of the Judgment or to enter judgment dismissing the Complaint and

granting the Defendant such further relief as is just and appropriate.

gph! Egle

Kent W. Easter

Dated: May 26, 2016

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ANSWER TO COMPLAINT TO DETERMINE NONDISCHARGEABITLIY

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CERTIFICATE OF SERVICE

I hereby certify that on May 26, 2016, I served a true and correct copy of
Defendant’s Answer to Complaint to Determine Non-Dischargeability of Debt by
mail to:

tan UW. Ete

Steven W. Easter

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ANSWER TO COMPLAINT TO DETERMINE NONDISCHARGEABITLIY

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

A true and correct copy of the foregoing document entitled (specify): A NSuer to C I ih hfs ’

CorAjlam
( . : ‘
Ng

quired by LBR 5005-2(d); and (b) in

will be served or was served (a) on the judge in chambers in the form and manner re
the manner stated below:
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General

Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
, [checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that

the following oni otice List to receive NEF transmission at the email addresses stated
below“ / 4 _
° CErea

xo
‘L, 20 BO “ol oy 2 4
Luss t ?
(Log ,
® hc P [-] Service information continued on attached page
2. SERVED BY UNITED STATES MAIL.
On (date)__ 3 , | served the following persons and/or entities at the last known addresses in this bankruptcy

case or adversary proceeding by placing a true and correct copy thereof in a sealed ‘envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the

judge will be completed no later than 24 hours after the document is filed.
“TR obevd Mavcer eeu
4600 Towne Cenlew Dve > Ste. Qr3¢
FeothiN Ranch, CH, Suile 766

+ Wenela Kos mele . .
zZ Mach viaay Pl, Sute 760 [-] Service information continued on attached page
Sante Anc, CA 11467
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
, | served

for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)

the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is

filed. ,

(] Service information continued on attached page

| declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
. nme
5/26 /Ilo Kent Eesh Lane

Date Printed Name Signature

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

F 9013-3.1.PROOF.SERVICE

June 2012
